 1   Stephen D. Finestone (125675)
     Jennifer C. Hayes (197252)
 2   FINESTONE HAYES LLP
     456 Montgomery Street, 20th Floor
 3   San Francisco, California 94104
     Tel. (415) 421-2624
 4   Fax (415) 398-2820
     sfinestone@fhlawllp.com
 5
     Attorneys for Debtor
 6   Evander F. Kane
 7
                              UNITED STATES BANKRUPTCY COURT
 8
                              NORTHERN DISTRICT OF CALIFORNIA
 9
                                          SAN JOSE DIVISION
10
      In re                                                  Case No. 21-50028
11

12    EVANDER FRANK KANE                                     Chapter 7

13             Debtor.                                       DECLARATION REGARDING
                                                             AMENDED SCHEDULES
14

15

16            I, Evander F. Kane, declare as follows:

17            I am the debtor in this bankruptcy proceeding. Attached hereto are amended Schedules

18   A/B. I believe these amended schedules are true and correct.

19            I declare under penalty of perjury under the laws of the United States that the foregoing

20   is true and correct. Executed on January 28, 2021 in Denver, Colorado

21

22                                                         /s/ Evander F. Kane
                                                           Evander F. Kane
23

24

25

26

27

28

     Case:
     DEC RE21-50028
            SCHEDULES Doc#
                      A/B 17           Filed: 01/31/21     Entered: 01/31/21 17:01:38       Page 1 of 9
 Fill in this information to identify your case and this filing:

 Debtor 1                    Evander Frank Kane
                             First Name                                 Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                     Last Name


 United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF CALIFORNIA

 Case number            21-50028                                                                                                                                 Check if this is an
                                                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                           12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
    Yes.      Where is the property?




 1.1                                                                            What is the property? Check all that apply
        2301 Richland Ave.
        Street address, if available, or other description
                                                                                       Single-family home                        Do not deduct secured claims or exemptions. Put
                                                                                                                                  the amount of any secured claims on Schedule D:
                                                                                        Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                        Condominium or cooperative
                                                                                  
                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the        Current value of the
        San Jose                          CA        95125-0000                         Land                                      entire property?            portion you own?
        City                              State              ZIP Code                  Investment property                            $3,000,000.00               $3,000,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                     (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                             Fee simple
        Santa Clara                                                                    Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                       At least one of the debtors and another       Check if this is community property
                                                                                                                                       (see instructions)

                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
               Case: 21-50028                        Doc# 17                 Filed: 01/31/21                 Entered: 01/31/21 17:01:38                     Page 2 of 9
 Debtor 1        Evander Frank Kane                                                                                      Case number (if known)          21-50028

       If you own or have more than one, list here:
 1.2                                                                    What is the property? Check all that apply
       3457 W. 35th Ave.
       Street address, if available, or other description
                                                                              Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                                                                               the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative
                                                                          
                                                                              Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       Vancouver                         BC                                   Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                 $2,860,000.00                    $2,860,000.00
                                                                              Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Joint tenant
       Canada                                                                 Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                              At least one of the debtors and another             (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:

                                                                        2,078 square foot single family residence
                                                                        5 bedroom, 1.5 bath
                                                                        Value shown and debt is 100% even though debtor holds 50%


       If you own or have more than one, list here:
 1.3                                                                    What is the property? Check all that apply
       8447 Isabel Place
       Street address, if available, or other description
                                                                              Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                               Duplex or multi-unit building                   the amount of any secured claims on Schedule D:
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative
                                                                          
                                                                              Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       Vancouver                         BC        00000-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                 $2,400,000.00                    $2,400,000.00
                                                                              Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.

                                                                              Debtor 1 only                                   Fee simple
       Canada                                                                 Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                              At least one of the debtors and another
                                                                                                                                   (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:

                                                                        2,800 square foot home
                                                                        5 bedroom, 3.5 bath
                                                                        Value is in USD based upon exchange of .77 to 1 USD


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                    $8,260,000.00


 Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                       Schedule A/B: Property                                                                               page 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
              Case: 21-50028                        Doc# 17            Filed: 01/31/21              Entered: 01/31/21 17:01:38                            Page 3 of 9
 Debtor 1       Evander Frank Kane                                                                                   Case number (if known)     21-50028
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
    Yes

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                    $0.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured
                                                                                                                                                  claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
     Yes.     Describe.....

                                    Household: couch, table, chairs, beds, silverwear, baby toys, crib                                                        $40,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    No
     Yes.     Describe.....

                                    Electronics: TVs, playstation, computer, printer                                                                          $12,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
     No
     Yes. Describe.....
9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
     Yes. Describe.....
10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
     Yes.     Describe.....

                                    Firearms: shotguns, hand guns, riffle                                                                                       $8,000.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
     Yes.     Describe.....


Official Form 106A/B                                                    Schedule A/B: Property                                                                        page 3
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
            Case: 21-50028                    Doc# 17                Filed: 01/31/21            Entered: 01/31/21 17:01:38                       Page 4 of 9
 Debtor 1          Evander Frank Kane                                                                                                 Case number (if known)   21-50028


                                            Clothes: clothes                                                                                                                 $20,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
     No
     Yes. Describe.....
13. Non-farm animals
    Examples: Dogs, cats, birds, horses
    No
     Yes.       Describe.....

                                            One dog                                                                                                                                  $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes. Give specific information.....

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                                    $80,000.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                     Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
     Yes................................................................................................................
                                                                                                                                         Cash:
                                                                                                                                         emergency
                                                                                                                                         cash                                  $2,500.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:


                                              17.1.                                              Checking Account: Bank of America                                                   $0.00



                                              17.2.                                              Checking Account: Wells Fargo                                                   $792.65


                                                                                                 Checking Account: Wells Fargo
                                              17.3.                                              Balance of account varies                                                   $35,000.00

                                                          Checking -          Scotia Bank
                                                          estimate of balance 8377 Granville St.
                                              17.4.       as of petition date Vancouver, BC                                                                                    $2,000.00




Official Form 106A/B                                                                      Schedule A/B: Property                                                                     page 4
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                        Best Case Bankruptcy
              Case: 21-50028                            Doc# 17                  Filed: 01/31/21                            Entered: 01/31/21 17:01:38          Page 5 of 9
 Debtor 1        Evander Frank Kane                                                                            Case number (if known)   21-50028

                                                Savings account -            Scotia Bank
                                                estimated balance            8377 Granville St.
                                       17.5.    as of filing date            Vancouver, BC                                                                    $0.00

                                                                             Royal Bank of Canada
                                                                             1055 W. Georgia St.
                                       17.6.    Checking                     Vancouver, BC                                                            $11,103.00

                                                                             Royal Bank of Canada
                                                Account ending in            1055 W. Georgia St.
                                       17.7.    0532                         Vancouver, BC                                                                    $0.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................                    Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
    No
     Yes.     Give specific information about them...................
                                     Name of entity:                                                            % of ownership:

                                          Membership interests in Ascher Capital II and III
                                          LLC. Debtor purchased investments in two
                                          limited liability companies in connection with
                                          conservation tax easement acquisition. Debtor
                                          borrowed the funds for investment - $750,000
                                          and is uncertain whether lender (arranged by
                                          investment advisor) is secured as to investment
                                          and return.                                                            uncertain        %                     Unknown


                                                                                                                   100%
                                          Lions Properties LLC                                                   ownership
                                          Entity has no assets                                                    with wife       %                           $0.00


                                          Ownership of EK9 Marketing, LLC                                           100%          %                           $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
     Yes. Give specific information about them
                                          Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
     Yes. List each account separately.
                                       Type of account:                      Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
     No
     Yes. .....................                                             Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............             Issuer name and description.


Official Form 106A/B                                                    Schedule A/B: Property                                                                page 5
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            Case: 21-50028                     Doc# 17               Filed: 01/31/21         Entered: 01/31/21 17:01:38                  Page 6 of 9
 Debtor 1       Evander Frank Kane                                                                        Case number (if known)     21-50028
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
     Yes.............          Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
     No
     Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     No
     Yes. Give specific information about them...
27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
     No
     Yes. Give specific information about them...
 Money or property owed to you?                                                                                                        Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured
                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you
    No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

                                                         Estimated return from purchase of tax
                                                             conservation easement if allowed by
                                                             IRS
                                                             Debtor does not know if potential
                                                             creditor lien is perfected                         Federal                         $1,800,000.00


                                                         Refund due for payment of transfer tax on
                                                             exempt real property transfer. Debtor
                                                             paid taxes with transfer but a refund
                                                             request should be processed.                       Local                              $37,147.00


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
     No
     Yes. Give specific information..
31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                         Company name:                                           Beneficiary:                           Surrender or refund
                                                                                                                                        value:

                                         Equitable Life Insurance
                                         Whole Life Policy                                       Deanna Kane                                         $9,304.00



Official Form 106A/B                                                    Schedule A/B: Property                                                             page 6
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
            Case: 21-50028                    Doc# 17                Filed: 01/31/21       Entered: 01/31/21 17:01:38                 Page 7 of 9
 Debtor 1        Evander Frank Kane                                                                                               Case number (if known)       21-50028
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
     No
     Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
     No
     Yes. Describe each claim.........
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
     Yes.      Describe each claim.........

                                                          Claims against Leon McKenzie and Sure Sports LLC related
                                                          to business advice and obtaining loans for Debtor. This
                                                          includes violation of the Florida Broker's Act, Deceptive and
                                                          Unfair Trade Practice, Fraud, Breach of Fiduciary Duty                                                               Unknown


                                                          Counterclaim against Rachel Kuechle in Erie County matter                                                            Unknown


35. Any financial assets you did not already list
     No
     Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................         $1,897,846.65


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
    Yes.     Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
       Yes.     Go to line 47.



 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                       $0.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                                page 7
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                        Best Case Bankruptcy
             Case: 21-50028                       Doc# 17               Filed: 01/31/21                    Entered: 01/31/21 17:01:38                           Page 8 of 9
 Debtor 1         Evander Frank Kane                                                                                                    Case number (if known)   21-50028

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................               $8,260,000.00
 56. Part 2: Total vehicles, line 5                                                                              $0.00
 57. Part 3: Total personal and household items, line 15                                                    $80,000.00
 58. Part 4: Total financial assets, line 36                                                             $1,897,846.65
 59. Part 5: Total business-related property, line 45                                                            $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                   $0.00
 61. Part 7: Total other property not listed, line 54                                             +              $0.00

 62. Total personal property. Add lines 56 through 61...                                                 $1,977,846.65                Copy personal property total          $1,977,846.65

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                       $10,237,846.65




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 8
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                           Best Case Bankruptcy
             Case: 21-50028                         Doc# 17                Filed: 01/31/21                      Entered: 01/31/21 17:01:38                           Page 9 of 9
